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16                             UNITED STATES DISTRICT COURT FOR THE
17
                                    NORTHERN DISTRICT OF CALIFORNIA
18
      ALICIA HERNANDEZ et al., individually                 Case No. 3:18-cv-07354-WHA
19    and on behalf of all others similarly situated,
20                    Plaintiffs,                           SECOND AMENDED
21                                                          CLASS ACTION COMPLAINT
      v.
22                                                          DEMAND FOR JURY TRIAL
      WELLS FARGO BANK, N.A.,
23
                      Defendant.
24

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27

28

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 1                                              INTRODUCTION

 2          1.      Plaintiffs are among the hundreds of homeowners who lost their homes to foreclosure

 3   because Wells Fargo wrongly determined they did not qualify for a mortgage modification.

 4          2.      This was not an accident, but rather the result of years of a willful and reckless lack of

 5   central oversight by Wells Fargo’s Board and executive leadership that has led to repeated compliance

 6   breakdowns and billions of dollars in government fines.

 7          3.      For years, Wells Fargo failed to verify or audit its loan modification software to ensure it

 8   was properly calculating homeowners’ eligibility for government-mandated mortgage modifications.

 9   Material errors remained uncorrected in the software for five to eight years, if not longer.

10          4.      The federal government cited Wells Fargo in 2011 for failing to adequately audit its

11   mortgage modification and foreclosure procedures, and Wells Fargo’s Board and executive leadership

12   promised to implement ongoing testing to ensure that the Bank complied with government

13   requirements in the future. But they failed to live up to that promise and multiple errors in Wells

14   Fargo’s decision-making software remained unaddressed.

15          5.      Wells Fargo’s leadership failed to implement adequate testing even after the government

16   found that another error in the Bank’s software had led the Bank to wrongfully deny mortgage

17   modifications in 2013-2014. Wells Fargo was cited again for failing to properly oversee the Bank’s

18   mortgage modification and foreclosure operations, but still did nothing to stop others like Plaintiffs

19   from being wrongfully denied mortgage modifications and foreclosed upon.

20          6.      Not until August 2013 did Wells Fargo discover one of the errors that led it to

21   wrongfully deny mortgage modifications to Plaintiffs and hundreds of other homeowners. But rather

22   than coming clean, Wells Fargo kept its discovery secret—likely in an effort to avoid additional

23   government penalties. The government had previously imposed restrictions on Wells Fargo’s mortgage

24   servicing business and announced fines, with the amount of the fine and the duration of business

25   restrictions dependent on the length and severity of the Bank’s continued non-compliance. Had Wells

26   Fargo disclosed another scandal that led it to unlawfully deny mortgage modifications to hundreds of

27   customers, the government likely would not have lifted its business restrictions in 2016 and would have

28   imposed a far more severe penalty than the $70 million fine it ultimately issued.

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 1          7.      Moreover, despite knowing in 2013 that its mortgage modification software was faulty

 2   and had the potential to impact borrowers, Wells Fargo continued to use that faulty software when

 3   reviewing borrowers’ loans for mortgage modifications. As a result, Wells Fargo wrongfully denied

 4   mortgage modifications to Plaintiffs and class members, and in many cases foreclosed on their homes.

 5          8.      The Wells Fargo Board’s repeated failure to fulfill its oversight responsibilities, despite

 6   promising to do so as part of multiple consent decrees, has grown so flagrant—and led to so many

 7   scandals and consumer abuses—that the Federal Reserve just last year placed an asset-cap on Wells

 8   Fargo that will not be lifted until Wells Fargo convinces the government it has finally reformed its

 9   central oversight practices. The Federal Reserve’s cease-and-desist order has been described as a “Fear

10   of God Penalty,” with one expert opining that the Bank is “lucky it is too big to shut down.”

11          9.      After the Federal Reserve issued the asset-cap in February 2018, Wells Fargo announced

12   an overhaul of its Board. Wells Fargo has since disclosed to its shareholders what it learned in 2015—

13   that hundreds of its customers were wrongfully and unlawfully denied mortgage modifications, with

14   many of those customers subsequently losing their homes. Following that initial disclosure, Wells

15   Fargo discovered yet another error in its automated decision-making tool, which caused even more

16   homeowners to be wrongfully denied mortgage modifications. Wells Fargo has warned its customers

17   that even more errors and more affected customers may be uncovered as its review continues.

18          10.     Although Wells Fargo publicly claims to be turning over a new leaf to make things right

19   for its customers, it is unwilling to fairly compensate the customers whose lives its reckless behavior

20   forever changed. Hundreds lost their homes and yet Wells Fargo told its shareholders it was allocating

21   less than $13,000 per person as remediation. Wells Fargo then moved to dismiss this action with

22   prejudice, so that its customers would receive nothing more than it pre-allocated for them. Wells Fargo

23   wants to be the sole arbiter of how much remediation it should pay—with little regard for the financial

24   and emotional devastation its reckless behavior has wrought on Plaintiffs’ and class members’ lives.

25          11.     Plaintiffs seek to hold Wells Fargo and its leadership truly responsible for their repeated

26   and deliberate failure to ensure the Bank was complying with legal requirements. They seek

27   certification of a nationwide class of homeowners wrongly denied a mortgage modification and several

28   statewide classes that will allow class members to efficiently pursue additional claims under state


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 1   consumer protection laws. Plaintiffs also intend to pursue entry of an injunction or other equitable

 2   relief sufficient to prevent the continued use of Wells Fargo’s unfair practices, and treble and punitive

 3   damages pursuant to state law.

 4                                                JURISDICTION

 5             12.   The Court has subject matter jurisdiction over this action under 28 U.S.C. § 1332(d)(2)

 6   because this is a class action in which the amount in controversy exceeds $5,000,000, exclusive of

 7   interest and costs; in the aggregate, there are more than 100 members in the proposed classes; and at

 8   least one class member is a citizen of a state different from any defendant.

 9             13.   Venue is proper in this Court under 28 U.S.C. §1391(b) because Defendant resides in

10   this district and because a substantial part of the events or omissions giving rise to Plaintiffs’ claims

11   occurred in this district.

12                                     INTRADISTRICT ASSIGNMENT

13             14.   Assignment to the Oakland/San Francisco division is proper because Wells Fargo’s

14   designated principal place of business is in San Francisco, California and a substantial part of the events

15   or omissions giving rise to Plaintiffs’ claims occurred there.

16                                                    PARTIES

17             15.   Plaintiff Alicia Hernandez is a resident and citizen of Easton, Pennsylvania. Ms.

18   Hernandez was denied a mortgage modification and her New Jersey condominium was foreclosed upon

19   as a result of the conduct alleged herein.

20             16.   Plaintiff Debora Granja is a resident and citizen of Eugene, Oregon. Ms. Granja was

21   denied a mortgage modification and her home in Brentwood, California, was foreclosed upon as a

22   result of the conduct alleged herein.

23             17.   Plaintiff Keith Lindner is a resident and citizen of California. Mr. Lindner was denied a

24   mortgage modification and lost his home in Visalia, California, as a result of the conduct alleged

25   herein.

26             18.   Plaintiff Emma White is a resident and citizen of Jacksonville, Florida. Ms. White was

27   denied a mortgage modification and her home in Callahan, Florida, was foreclosed upon as a result of

28   the conduct alleged herein.


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 1             19.     Plaintiff Coszetta Teague is a resident and citizen of Homewood, Illinois. Ms. Teague

 2   was denied a mortgage modification and her home in Calumet City, Illinois, was foreclosed upon as a

 3   result of the conduct alleged herein.

 4             20.     Plaintiffs Russell and Brenda Simoneaux are residents and citizens of Baton Rouge,

 5   Louisiana. Mr. and Mrs. Simoneaux were denied a modification of the mortgage on their Louisiana

 6   home as a result of the conduct alleged herein.

 7             21.     Plaintiffs John and Yvonne DeMartino are residents and citizens of Baltimore,

 8   Maryland. The DeMartinos were denied a mortgage modification and their house in Baltimore,

 9   Maryland, was foreclosed upon as a result of the conduct alleged herein.

10             22.     Plaintiff Rose Wilson is a resident and citizen of New York. Ms. Wilson was denied a

11   mortgage modification and her New York home was foreclosed upon as a result of the conduct alleged

12   herein.

13             23.     Plaintiff Tiffanie Hood is a resident and citizen of Ohio. Ms. Hood was denied a

14   mortgage modification and her Ohio home was foreclosed upon as a result of the conduct alleged

15   herein.

16             24.     Plaintiffs George and Cyndi Floyd are residents and citizens of Philadelphia,

17   Pennsylvania. The Floyds were denied a mortgage modification and their house in Lancaster,

18   Pennsylvania, was foreclosed upon as a result of the conduct alleged herein.

19             25.     Plaintiff Troy Frye is a resident and citizen of Georgia. Mr. Frye was denied a mortgage

20   modification and lost his home in Hephzibah, Georgia, as a result of the conduct alleged herein.

21             26.     Plaintiff Diana Trevino is a resident and citizen of Richardson, Texas. Ms. Trevino was

22   denied a mortgage modification and her Texas home was foreclosed upon as a result of the conduct

23   alleged herein.

24             27.     Wells Fargo & Company (WFC), is a Delaware corporation headquartered in San

25   Francisco, California, and a registered bank holding company that owns and controls Defendant Wells

26   Fargo Bank, N.A.

27             28.     Defendant Wells Fargo Bank, N.A., is a national banking association with its main

28   office in Sioux Falls, South Dakota, and designated principal place of business in San Francisco,


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 1   California.

 2          29.    Defendant, along with Wells Fargo & Company, shared responsibility for ensuring that

 3   the Bank’s operations were properly tested to ensure compliance with HAMP and other government

 4   requirements, with ultimate responsibility lying with WFC’s Board of Directors, and its Audit &

 5   Examination Committee in particular. There also exists a high-degree of built-in overlap between

 6   Wells Fargo and WFC due to the fact that WFC owns and controls the Bank, and that the Bank

 7   directors responsible for ensuring compliance with HAMP and other government requirements were

 8   also WFC executives and/or directors.

 9                                       FACTUAL ALLEGATIONS

10          A.     Wells Fargo Wrongfully Forecloses on Its Customers’ Homes

11          30.    Plaintiffs are among the millions of homeowners who had trouble making ends meet

12   during the Great Recession. They fell behind on their mortgage payments and needed help to avoid

13   losing their homes.

14          31.    The Home Affordable Modification Program (HAMP) was designed to provide the very

15   help that Plaintiffs and class members needed. Introduced pursuant to the Emergency Economic

16   Stabilization Act of 2008, HAMP required mortgage servicers to offer loan modifications to borrowers

17   who met certain threshold requirements. These modifications would lower a borrower’s mortgage

18   payments to a manageable level (typically 31 percent of the borrower’s monthly income) and allow the

19   borrower to avoid foreclosure.

20          32.    Similar threshold requirements were incorporated into the mortgage modification

21   requirements of government-sponsored enterprises (or GSEs), such as Fannie Mae and Freddie Mac,

22   and the Federal Housing Administration (FHA).

23          33.    Plaintiffs and class members met the threshold requirements for a mortgage modification

24   and as their mortgage servicer, Wells Fargo, was required to offer them a loan modification. Wells

25   Fargo failed to do so, however, and instead foreclosed on Plaintiffs and more than five hundred other

26   class members who could not make their monthly payments without a modification.

27          34.    Another three hundred class members were just able to stave off foreclosure, but not

28   without overcoming numerous financial and emotional difficulties that could have been avoided if


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 1   Wells Fargo had lowered their mortgage payments as HAMP and other GSEs required.

 2
            B.      Wells Fargo Fails to Adequately Test Its Automated Decision-Making Tool Over a
 3                  Period of at Least 8 Years

 4          35.     Wells Fargo has only recently acknowledged that it wrongfully denied Plaintiffs and

 5   class members mortgage loan modifications to which they were entitled under HAMP and other

 6   government requirements.

 7          36.     In form letters sent to Plaintiffs and class members in late 2018, Wells Fargo claimed

 8   that its decision was based on a “faulty calculation.” The problem goes much deeper than a single

 9   miscalculation, however, and reflects the same type of extreme and outrageous conduct that has

10   embroiled Wells Fargo in a string of public scandals.

11          37.     Between 2010 and 2018, Wells Fargo failed to detect multiple systematic errors in its

12   automated decision-making tool. This software determined customers’ eligibility for a government-

13   mandated mortgage modification during a time of extreme financial distress. Its importance to these

14   customers’ lives cannot be overstated. Yet Wells Fargo not only failed to verify that its software was

15   correctly calculating whether customers met threshold requirements for a mortgage modification, it

16   failed to regularly and properly audit the software for compliance with government requirements—

17   allowing life-changing errors to remain uncorrected for years on end.

18          38.     Wells Fargo was not required to develop its own tool to calculate whether its customers

19   were eligible for government-mandated mortgage modifications. The government provided a free

20   software tool for mortgage servicers to use in determining whether homeowners met threshold

21   requirements. If Wells Fargo was not going to properly verify and audit its own software, it could

22   have—and should have—used the free software instead.

23          39.     As a result of Wells Fargo’s deficient auditing and compliance procedures, the Bank

24   repeatedly violated HAMP and other government requirements over a period of at least eight years and

25   denied Plaintiffs and class members mortgage modifications that the Bank was legally required to offer.

26
            C.      Wells Fargo’s Leadership Fails to Implement Adequate Testing Even After
27                  Promising to Do So as Part of 2011 Consent Decrees

28          40.     Wells Fargo failed to use appropriate auditing and compliance procedures even after a


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 1   2010 investigation by the Office of Comptroller of the Currency (OCC) found numerous deficiencies in

 2   the Bank’s mortgage modification and foreclosure practices.

 3          41.     The OCC found, among other things, that the Bank had failed to devote adequate

 4   oversight to its foreclosure processes, failed to ensure compliance with applicable laws, and failed to

 5   adequately audit its foreclosure procedures.

 6          42.     Wells Fargo agreed to correct these deficiencies in two 2011 consent orders, one of

 7   which was signed by the Bank’s Board of Directors (all of whom were also officers and/or directors of

 8   Wells Fargo & Company), and the other of which was signed by WFC pursuant to a resolution passed

 9   by WFC’s Board of Directors.

10          43.     Wells Fargo pledged in the 2011 consent orders to maintain adequate governance and

11   controls to ensure compliance with HAMP; to engage in ongoing testing for compliance with HAMP;

12   and to ensure that the Bank’s mortgage modification and foreclosure practices were regularly reviewed

13   and any deficiencies promptly detected and remedied. The Bank also promised to maintain a

14   Compliance Committee of board members to monitor its ongoing compliance with the Consent Order.

15          44.     In one of the consent orders, the Federal Reserve specifically ordered WFC’s Board of

16   Directors to take steps to ensure the Bank complied with its obligations under the consent orders,

17   including by strengthening the Board’s oversight of compliance with HAMP and other government

18   requirements; to ensure that audit and compliance programs were adequately staffed; and to improve

19   the information and reports that would be regularly reviewed by WFC’s Board of Directors.

20          45.     Wells Fargo subsequently reported to the Federal Reserve that the Bank’s Compliance

21   Committee was meeting as required, that the Audit & Examination Committee of WFC’s Board of

22   Directors would also assume ongoing responsibility for oversight and compliance based on improved

23   reporting, and that WFC’s Chief Operational Risk Officer (CORO) was providing both the Compliance

24   Committee and the Audit & Examination Committee with the necessary information and testing results

25   for them to effectively oversee the Bank’s mortgage modification and foreclosure practices and ensure

26   compliance with HAMP and other government requirements.

27          46.     Together, Wells Fargo’s executives and board members—in particular, Wells Fargo’s

28   Compliance Committee, Chief Operational Risk Officer, and Audit & Examination Committee—were


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 1   supposed to make sure that the Bank conducted the necessary testing to detect and remedy any

 2   violations of HAMP and other government requirements. They repeatedly failed to fulfill these

 3   obligations over the course of several years, however—in violation of the promises they made in the

 4   2011 Consent Order and in callous disregard of the well-being of their customers.

 5          47.     Four years after Wells Fargo agreed to the terms of the 2011 consent orders, in June

 6   2015, the OCC found that the Bank was still in continuing noncompliance. Among other things, the

 7   OCC found that Wells Fargo had not maintained ongoing testing for compliance with HAMP and other

 8   government requirements; had not ensured that the Bank’s audit and compliance programs had the

 9   requisite authority and status within Wells Fargo so that deficiencies in the Bank’s mortgage

10   modification and foreclosure practices would be identified and promptly remedied; and had not ensured

11   that the Bank was making reasonable good faith efforts, consistent with HAMP and other government

12   requirements, to modify delinquent mortgage loans and prevent foreclosures of its customers’ homes.

13
            D.      Wells Fargo Conceals Its Discovery of One of the Systematic Errors from
14                  Regulators and Consumers

15          48.     In response to Wells Fargo’s ongoing violations of the 2011 Consent Order, the OCC

16   prohibited the Bank from growing its residential mortgage servicing business until Wells Fargo brought

17   its operations into compliance with an amended consent order. The OCC also stated that it would be

18   taking additional action against Wells Fargo, the nature and severity of which would depend on the

19   nature, length, and severity of the Bank’s continued noncompliance with the amended consent order.

20          49.     As a result of Wells Fargo’s continuing failure to implement adequate auditing and

21   compliance procedures, Wells Fargo failed to catch an error in its mortgage modification software that

22   led the Bank to wrongly deny mortgage modifications to 184 customers between March 2013 and

23   October 2014. The OCC specifically noted this error in its May 24, 2016 order requiring Wells Fargo

24   to pay a civil money penalty of $70 million.

25          50.     Unbeknownst to the OCC, Wells Fargo had discovered another error in its mortgage

26   modification software in August 2013—one of the errors at issue in this case—which caused the Bank

27   to wrongly deny mortgage modifications to 625 customers. Well Fargo decided not to tell anybody it

28   had discovered this error—likely as part of an effort to avoid a larger penalty from the OCC and ensure


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 1   that the OCC would terminate its supervision of the Bank under the 2011 Consent Order and lift the

 2   business restrictions it had imposed in 2015.

 3          51.     The Bank’s seven-member Board of Directors, each of whom also served on WFC’s

 4   Board of Directors, signed the stipulation under which the Bank accepted the $70 million penalty and

 5   acknowledged the error that led the Bank to wrongly deny mortgage modifications to 184 customers in

 6   2013-2014. These directors did not disclose that the Bank had discovered another error—either

 7   because their oversight was so non-existent that they did not know, or because they chose to

 8   deliberately mislead the OCC to minimize the Bank’s penalty and ensure that the OCC lifted the

 9   business restrictions it had imposed on the Bank.

10          52.     To make matters worse, even after discovering the 2013 error, Wells Fargo still did not

11   reform its auditing and verification practices. Related errors that would affect an additional 145

12   customers were not discovered until five years later.

13
            E.      Wells Fargo’s Repeated Failure to Test Its Automated Tool Stems from the
14                  Company’s Chronic and Intentional Lack of Central Oversight

15          53.     The failure of Wells Fargo’s executives and board members to implement adequate

16   auditing and compliance procedures was not an accident. As scandal after scandal comes to light, it has

17   become all too clear that Wells Fargo’s leaders intentionally abandoned their oversight

18   responsibilities—and did so to a shocking degree.

19          54.     The most notorious example is the fraudulent account scandal uncovered in 2016, when

20   it was revealed that Wells Fargo employees were encouraged to sign up customers for some 3.5 million

21   checking and credit card accounts without their knowledge. Wells Fargo was fined $185 million by

22   federal regulators and over 5,000 employees (roughly 1% of Wells Fargo’s workforce) were fired for

23   their involvement in the scandal.

24          55.     The fraudulent account scandal also involved the Audit & Examination Committee,

25   which ignored quarterly reports detailing suspicious sales activities for over a decade and rebuffed an

26   institutional investor’s request that the Board address its lack of comprehensive audit procedures and

27   adjust compensation policies to discourage abusive sales practices. The two executives most associated

28   with the fraudulent account scandal—John G. Stumpf and Carrie L. Tolstedt—were signatories to one


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 1   of the 2011 consent orders discussed above and among those responsible for Wells Fargo’s failure to

 2   comply with the orders by implementing adequate auditing and compliance procedures.

 3          56.      This case and the fraudulent account scandal are far from the only examples of Wells

 4   Fargo’s Board and executive leadership abdicating their oversight responsibilities. Wells Fargo’s

 5   Board and executive leadership have consistently ignored unlawful practices throughout the Bank’s

 6   lending divisions, leading to an unprecedented series of government fines. To give just a few more

 7   examples:

 8                1. In July 2012, Wells Fargo agreed to pay $175 million to settle charges that its mortgage
                     lending practices discriminated against African-American and Hispanic borrowers
 9
                  2. In January 2013, Wells Fargo was one of ten major lenders that agreed to pay a total of
10                   $8.5 billion to resolve claims of foreclosure abuses
11                3. In September 2013, Wells Fargo agreed to pay $869 million to resolve claims it had
                     misrepresented the quality of mortgage loans it sold to Freddie Mac
12
                  4. In April 2016, Wells Fargo agreed to pay $1.2 billion and accepted responsibility for
13                   falsely certifying that mortgage loans were eligible for FHA insurance
14                5. In August 2016, Wells Fargo agreed to pay a $3.6 million penalty to resolve allegations
                     that it engaged in illegal student loan servicing practices
15
                  6. In April 2018, Wells Fargo was fined a total of $1 billion for improperly force-placing
16                   insurance on its auto-loan customers (often leading to wrongful vehicle repossessions)
17                   and charging its mortgage-loan customers excessive rate-lock fees
                  7. In December 2018, Wells Fargo agreed to pay $575 million to resolve allegations it
18
                     engaged in a variety of improper practices, including selling customers renters’ and life
19                   insurance they did not ask for and overcharging for GAP auto insurance

20          57.      Just as it did in the 2011 Consent Order, Wells Fargo often promised to reform its
21   central oversight as part of its settlements with the government. Each time, Wells Fargo’s Board and
22   executives failed to live up to those promises and continued to abdicate their oversight responsibilities.
23   As the OCC stated in April 2018, “Since at least 2011, the Bank has failed to implement and maintain a
24   compliance risk management program commensurate with the Bank’s size, complexity and risk
25   profile,” which has “caused the Bank to engage in reckless unsafe or unsound practices and violations
26   of law.”
27          58.      Wells Fargo’s persistent failure to implement adequate auditing and compliance
28   procedures has grown so flagrant and resulted in so many consumer abuses that, in February 2018, the

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 1   Federal Reserve Board announced that it would prohibit Wells Fargo from expanding its business until

 2   it sufficiently improves its governance and controls.

 3           59.    In its Cease and Desist Order to Wells Fargo, the Federal Reserve Board found that

 4   Wells Fargo had pursued a business strategy that emphasized sales and growth without ensuring that

 5   senior management had maintained an adequate risk management framework, which resulted in weak

 6   compliance practices.

 7           60.    Wells Fargo was ordered to submit a plan for reforming Board oversight and

 8   governance, including steps that it will take to hold senior management accountable, maintain a

 9   management structure that promotes effective oversight and compliance control, and ensure the

10   comprehensive reporting necessary for the Board to oversee the firm’s execution of its compliance

11   control program.

12           61.    Wells Fargo was also ordered to submit a plan for reforming its firm-wide compliance

13   program, which must include effective testing and validation measures for compliance with applicable

14   laws.

15           62.    Until Wells Fargo’s plans for reform are approved by the Federal Reserve and the

16   implementation of those reforms pass independent review by a third-party auditor, Wells Fargo is

17   subject to an asset cap that restricts the company from growing larger.

18           63.    As one banking expert told the New York Times, Wells Fargo “is lucky it is too big to

19   shut down.” “A smaller bank might have lost its banking licenses.”

20           F.     Wells Fargo’s Disclosure of the 2013 Error and Discovery of More Errors

21           64.    A few months after the Federal Reserve’s 2018 Cease and Desist Order, and facing the

22   prospect of review by a third-party auditor, Wells Fargo finally disclosed the 2013 error—first to its

23   shareholders in its Q2 2018 Form 10-Q and then to the customers who were denied mortgage

24   modifications, many of whom lost their homes as a result of the error. Wells Fargo wrote in its 10-Q

25   that approximately 625 customers were incorrectly denied a loan modification between April 12, 2010,

26   and October 20, 2015 (when the error was corrected), and that approximately 400 of those instances

27   resulted in a foreclosure. Wells Fargo also wrote that it had “accrued $8 million to remediate

28   customers,” which amounts to an average of only $12,800 per customer.


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 1          65.     Three months later, in its next Form 10-Q, Wells Fargo disclosed that it had discovered

 2   related errors that affected approximately 245 more customers who were incorrectly denied a mortgage

 3   modification between March 15, 2010, and April 30, 2018, when Wells Fargo says that “new controls

 4   were implemented.” These related errors raised the number of affected customers to approximately 870

 5   and the resulting wrongful foreclosures to approximately 545.

 6          66.     Wells Fargo’s long-overdue review of its automated mortgage modification software is

 7   apparently still not complete. In its recently filed 10-K Annual Report, Wells Fargo disclosed to

 8   shareholders that the “effort to identify other instances in which customers may have experienced harm

 9   is ongoing, and it is possible that we may identify other areas of potential concern.”

10          67.     In late 2018, Wells Fargo began sending form letters to the customers affected by the

11   errors in its automated decision-making tools. The letters typically included a check for around

12   $15,000, and informed customers that if they were not satisfied with that amount, they could consider

13   mediation through a third-party mediator that Wells Fargo has retained.

14          68.     The amounts that Wells Fargo is offering its customers is nowhere near enough to

15   compensate them for the damage that Wells Fargo’s conduct caused them, and indicates that while

16   Wells Fargo wants the Federal Reserve to believe it has changed its ways, the company is unwilling to

17   accept full responsibility for the life-altering consequences its behavior has wrought.

18          69.     As a result of Wells Fargo’s conduct, the lives of Plaintiffs and class members have been

19   irrevocably altered. Their damages include loss of their homes; loss of equity in their homes; loss of

20   tax benefits; loss of appreciation in their homes’ value following foreclosure; loss of time and money

21   spent in an effort to avoid foreclosure; loss of time and money put into their homes; loss of time and

22   money to find new housing and move their families; loss of favorable interest rates or other favorable

23   loan terms; damage to credit; opportunity costs due to damaged credit or higher mortgage payments;

24   stress-related illnesses; broken marriages; children coping with the financial and emotional

25   consequences of their parents losing the family home; and severe emotional distress.

26                                       PLAINTIFFS’ EXPERIENCES

27                  1.      Debora Granja (California)

28          70.     Plaintiff Debora Granja purchased her home, located in Brentwood, California, with her


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 1   then-husband in 2004. The couple eventually had three daughters living with them and put substantial

 2   time and money into making the house their own. Wells Fargo became Ms. Granja’s mortgage lender

 3   following a refinance in 2006.

 4          71.     Around 2009, Ms. Granja’s husband lost his job as a landscaping manager. Ms. Granja,

 5   who had been working only part-time, returned to full-time work to support her family.

 6          72.     Ms. Granja began seeking a loan modification from Wells Fargo in 2010. Each time she

 7   called Wells Fargo, she spoke to a different representative. Initially, the representatives told her that

 8   she would easily qualify for a modification based on her circumstances. Ms. Granja tried submitting

 9   her loan modification application numerous times. Each time, Wells Fargo would claim it lost her

10   paperwork and would ask her to resend it.

11          73.     Eventually, around 2012, Wells Fargo representatives falsely told Ms. Granja that she

12   did not qualify for a modification. The Bank ultimately foreclosed on her house in 2014 and Ms.

13   Granja was forced to find a rental home for her family. Her daughters had to change schools and leave

14   the only environment they knew.

15          74.     Wells Fargo’s failure to grant Ms. Granja a loan modification caused great strain on her

16   marriage. Ms. Granja and her husband legally separated around the time of the foreclosure. The stress

17   of the foreclosure also severely affected Ms. Granja’s health. She was diagnosed with severe

18   depression in 2013. Four years later, Ms. Granja was diagnosed with acute traumatic stress disorder.

19   Her breakdown was triggered by a minor car accident but caused by an accumulation of stress over

20   recent years, including from the foreclosure.

21          75.     In September 2018, Ms. Granja’s ex-husband received a letter from Wells Fargo

22   informing him and Ms. Granja that their mortgage modification should have been approved but was not

23   approved due to an error. He notified Ms. Granja of the letter and she contacted Wells Fargo to provide

24   it with her contact information. Ms. Granja was one of the customers wrongly denied a mortgage

25   modification because of systematic errors in Wells Fargo’s automated decision-making tool.

26          76.     As a result of Wells Fargo’s repeated failure to properly test its automated decision-

27   making tool, Ms. Granja’s life has been irrevocably altered. Her injuries include loss of her family’s

28   home and the time and money put into that home; loss of equity in her home; loss of tax benefits; loss


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 1   of appreciation in her home’s value following the sale; loss of time and money spent to find

 2   replacement housing and move her family; loss of time and money spent in an effort to avoid

 3   foreclosure; damage to her credit and resulting opportunity costs; and severe emotional distress.

 4                  2.      Keith Lindner (California)

 5          77.     Mr. Lindner bought a home for his family in Visalia, California in 2003, financing the

 6   purchase with a mortgage loan from Wells Fargo. He moved in shortly thereafter with his partner,

 7   daughter, and two young stepsons.

 8          78.     As a seasoned professional in the construction industry, Mr. Lindner made wholesale

 9   improvements to the home. He built a 16-by-24-foot addition, replaced the windows, carpeting,

10   flooring and interior doors, installed new lighting, and rebuilt showers and closets, among other things.

11          79.     In 2006, Mr. Lindner began to experience some medical issues. It took a long time for

12   doctors to arrive at the correct diagnosis, and he eventually had surgery in 2008. Following the

13   surgery, he was unable to work for two months. Around the same time, the construction industry began

14   to suffer from the effects of the Great Recession. Mr. Lindner’s partner, who by this time was his wife,

15   had recently obtained a master’s degree, but was having a hard time finding work. Mr. Lindner’s father

16   also fell ill, and Mr. Lindner missed more time at work to be with his ailing father.

17          80.     In 2009, Mr. Lindner was laid off from his job with the company that had employed him

18   for the previous seven years. This caused the Lindners’ already-difficult financial situation to become

19   critical. Mr. Lindner reached out to Wells Fargo to tell them about his financial difficulties and asked

20   them if they could provide any assistance with his mortgage so that his family could stay in their

21   home. Wells Fargo denied his request.

22          81.     Mr. Lindner did everything he could to make ends meet, but money became tighter and

23   tighter every month. This took a tremendous toll on the Lindners’ marriage, and they separated in

24   September of 2009. Mrs. Lindner moved out of the house with her two sons from a previous

25   relationship, leaving Mr. Lindner with their son, who was about three years old at the time.

26          82.     Mr. Lindner continued to write hardship letters to Wells Fargo and to apply for a

27   mortgage modification, but was rejected time and time again, both verbally and in writing. Eventually,

28   Mr. Lindner realized that his situation was untenable, and he would have to leave the home. In 2011,


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 1   Wells Fargo offered him a “cash for keys” deal and paid him $2,000 to leave his home with his young

 2   son.

 3          83.     Mr. Lindner and his son, who was in kindergarten or first grade at the time, were forced

 4   to live in a series of uncomfortable situations, renting rooms in other people’s houses until Mr. Lindner

 5   obtained his contractor’s license in 2013, and was finally able to rent a house in 2014.

 6          84.     Mr. Lindner and his son suffered significant depression and anguish as a result of losing

 7   their home. The boy was sad about having to move from the only home he had known, and still fondly

 8   remembers it and the friends he left behind. Mr. Lindner was prescribed anti-depressants but did not

 9   have a good reaction to them. Mr. Lindner is still recovering from the impact of losing his home,

10   having his credit destroyed, and everything else that he endured as a result of being denied a mortgage

11   modification. His goal now is to be able to buy a home near his ex-wife so that he can be closer to his

12   son and provide him with a secure home.

13          85.     In late 2018, Mr. Lindner received a letter from Wells Fargo informing him that his

14   mortgage modification should have been approved but was not approved due to an error. Mr. Lindner

15   was one of the customers wrongly denied a mortgage modification because of systematic errors in

16   Wells Fargo’s automated decision-making tool.

17          86.     As a result of Wells Fargo’s repeated failure to properly test its automated decision-

18   making tool, Mr. Lindner’s life has been irrevocably altered. His injuries include loss of his family’s

19   home and the time and money put into that home; loss of equity in his home; loss of tax benefits; loss

20   of appreciation in his home’s value; loss of time and money spent to find replacement housing and

21   move his family; loss of time and money spent in an effort to avoid foreclosure; damage to his credit

22   and resulting opportunity costs; and severe emotional distress.

23                  3.      Emma White (Florida)

24          87.     Plaintiff Emma White purchased her home, located in Callahan, Florida, in 2006. She

25   was a single mother who moved into the house with her four children. The property was purchased

26   through a mortgage loan that Wells Fargo later acquired.

27          88.     Around 2009, Ms. White began experiencing financial hardship. She had accumulated

28   debt supporting her children and applied for a mortgage loan modification so that the family could keep


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 1   their home. The loan modification process was long and complicated. Ms. White kept having to send

 2   in the same paperwork over and over again, only to ultimately receive a letter from Wells Fargo in 2013

 3   saying that she did not qualify for a modification.

 4          89.     Wells Fargo had already initiated foreclosure proceedings, so after it denied her request

 5   for a mortgage modification, Ms. White was forced to leave her house. She found a rental apartment in

 6   Jacksonville, Florida, for her and three of her children, while Wells Fargo completed its foreclosure of

 7   their old home.

 8          90.     Wells Fargo’s actions caused Ms. White significant emotional distress. The foreclosure

 9   devastated her, especially because she had to support her children and work to make sure the family

10   had a place to live. Ms. White had been suffering from the stress of supporting her children and other

11   recent events in her life, and the foreclosure multiplied that stress. As a result of everything that was

12   going on in her life, including the foreclosure, Ms. White was diagnosed with depression and began

13   taking antidepressants. Ms. White’s children were also affected by the foreclosure. She had to explain

14   to them that she tried her best to keep the house, but ultimately could not do so.

15          91.     In late 2018, Ms. White received a letter from Wells Fargo informing her that her

16   mortgage modification should have been approved but was not approved due to an error. Ms. White

17   was one of the customers wrongly denied a mortgage modification because of systematic errors in

18   Wells Fargo’s automated decision-making tool.

19          92.     As a result of Wells Fargo’s repeated failure to properly test its automated decision-

20   making tool, Ms. White’s life has been irrevocably altered. Her injuries include loss of her family’s

21   home and the time and money put into that home; loss of equity in her home; loss of tax benefits; loss

22   of appreciation in her home’s value following the sale; loss of time and money spent to find

23   replacement housing and move her family; loss of time and money spent in an effort to avoid

24   foreclosure; damage to her credit and resulting opportunity costs; and severe emotional distress.

25                  4.      Troy Frye (Georgia)

26          93.     In 2009, Mr. Frye bought a home in Hephzibah, GA for himself and his partner, their

27   two young sons (who were about five and seven years old at the time), and his partner’s daughter.

28          94.     Around the beginning of 2013, Mr. Frye was laid off from his job at a local


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 1   manufacturing plant where he had been employed for about eight to ten years. He applied for and

 2   received unemployment assistance, but still was not able to make the monthly mortgage payments on

 3   his home. He reached out to Wells Fargo (his mortgage servicer), to see if they would grant him a

 4   mortgage modification, which they did in late February 2013.

 5          95.     Unfortunately, Mr. Frye’s new monthly mortgage payment was not significantly lower,

 6   and Mr. Frye continued to have difficulty making his payments. He attempted to get a second

 7   modification from Wells Fargo, but this time he was denied—both verbally and in writing. Wells

 8   Fargo then initiated foreclosure proceedings.

 9          96.     The strain of Mr. Frye’s financial hardship, coupled with the uncertainty and stress of

10   the impending foreclosure, had a big impact on Mr. Frye and his family. The relationship between Mr.

11   Frye and the mother of his children became very strained, and in 2014, she moved out with their two

12   boys and her daughter, leaving Mr. Frye alone in the home.

13          97.     Mr. Frye was able to delay foreclosure proceedings for a while, but Wells Fargo

14   persisted in their efforts to remove him from his home. Around the beginning of 2015, Wells Fargo

15   asked him how much they would need to pay him to leave. Confused and frustrated by the situation,

16   Mr. Frye said he would accept $2,000. The house had recently been damaged by a kitchen fire that

17   broke out while Mr. Frye was sleeping, and from which he was fortunate to escape with his life. He

18   accepted the $2,000 from Wells Fargo and moved out, as the house was no longer habitable.

19          98.     Mr. Frye and his children suffered emotional trauma and depression as a result of the

20   foreclosure and the effects that it had on their lives. They all tried to move on as best they could.

21          99.     In late 2018, Mr. Frye received a letter from Wells Fargo informing him that his second

22   mortgage modification request should have been approved but was not approved due to an error. Mr.

23   Frye was one of the customers wrongly denied a mortgage modification because of systematic errors in

24   Wells Fargo’s automated decision-making tool.

25          100.    As a result of Wells Fargo’s repeated failure to properly test its automated decision-

26   making tool, Mr. Frye’s life has been irrevocably altered. His injuries include loss of his family’s home

27   and the time and money put into that home; loss of equity in his home; loss of tax benefits; loss of

28   appreciation in his home’s value; loss of time and money spent to find replacement housing and move


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 1   his family; loss of time and money spent in an effort to avoid foreclosure; damage to his credit and

 2   resulting opportunity costs; and severe emotional distress.

 3                  5.      Coszetta Teague (Illinois)

 4          101.    Plaintiff Coszetta Teague purchased a home in Calumet City, Illinois, for herself and her

 5   daughter, Iesha Brown, in June 2010. Ms. Teague’s two young grandchildren moved in shortly

 6   thereafter. The property was purchased through a mortgage loan with Wells Fargo.

 7          102.    In 2010, Ms. Teague was laid off from her job at Chase Bank. In 2011, Ms. Teague lost

 8   her mother and her property taxes went up. As a result, Ms. Teague could no longer afford to make her

 9   monthly payments, and reached out to Wells Fargo to see if they could help.

10          103.    Wells Fargo told Ms. Teague to fill out paperwork. Ms. Teague did as she was told, but

11   when she later inquired about the status of her modification request, she was told that it had been lost

12   and that she would have to redo it. It took a long time for Wells Fargo to process Ms. Teague’s

13   application, and Wells Fargo’s representatives were often impolite during the process, but eventually

14   Wells Fargo told Ms. Teague that she did not qualify for a mortgage modification and it was going to

15   initiate foreclosure proceedings.

16          104.    Afraid that the sheriff was going to remove her from her home, Ms. Teague asked her

17   brother to help move her belongings to storage. She hired a foreclosure defense attorney, who charged

18   her $4,000 but was unable to help. Ms. Teague and her family vacated the home in the latter part of

19   2014 and Wells Fargo foreclosed shortly thereafter.

20          105.    Ms. Teague, her daughter, and her two grandchildren lived in Ms. Teague’s car for

21   several months, until she was able to find an apartment sometime around March 2015.

22          106.    The experience was emotionally devastating for all concerned. Ms. Brown was very

23   depressed and had suicidal ideations. She was prescribed antidepressants, including Zoloft. The

24   grandchildren, who were around four and nine at the time, were sad and confused about losing their

25   home and having to live in a car, change schools, and leave all their friends. They shut down, stopped

26   interacting with people, and attended therapy. Ms. Teague also experienced depression following the

27   foreclosure, and was prescribed antidepressants, including Zoloft. She is currently on Social Security

28   and disability benefits.


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 1          107.    In late 2018, Ms. Teague received a letter from Wells Fargo informing her that her

 2   mortgage modification should have been approved but was not approved due to an error. Ms. Teague

 3   was one of the customers wrongly denied a mortgage modification because of systematic errors in

 4   Wells Fargo’s automated decision-making tool.

 5          108.    As a result of Wells Fargo’s repeated failure to properly test its automated decision-

 6   making tool, Ms. Teague and her family’s lives have been irrevocably altered. Their injuries include

 7   loss of their home and the time and money put into that home; loss of equity in the home; loss of tax

 8   benefits; loss of appreciation in the home’s value following the sale; loss of time and money spent to

 9   find replacement shelter and relocate; loss of time and money spent in an effort to avoid foreclosure;

10   damage to Ms. Teague’s credit and resulting opportunity costs; and severe emotional distress.

11                  6.     Russell and Brenda Simoneaux (Louisiana)

12          109.    Plaintiffs Russell and Brenda Simoneaux purchased their home in Baton Rouge,

13   Louisiana, in 1992.

14          110.    Mr. and Mrs. Simoneaux contacted Wells Fargo, their mortgage loan servicer, in 2013

15   because Mr. Simoneaux had recently retired and the couple was living on a fixed income. They applied

16   for a mortgage modification, but were denied.

17          111.    Without a mortgage modification, Mr. and Mrs. Simoneaux had a very difficult time

18   meeting their mortgage obligations. Mr. and Mrs. Simoneaux were both forced to take side jobs for

19   extra income, the couple avoided eating out, and they watched every penny they spent for several

20   years—until their mortgage was finally paid off in late 2018. It was an extremely stressful time.

21          112.    In October 2018, Mr. and Mrs. Simoneaux received a letter from Wells Fargo informing

22   them that their request for a mortgage modification should have been approved but was not approved

23   due to an error. Mr. and Mrs. Simoneaux were among the customers wrongly denied a mortgage

24   modification because of systematic errors in Wells Fargo’s automated decision-making tool.

25          113.    As a result of Wells Fargo’s repeated failure to properly test its automated decision-

26   making tool, Mr. and Mrs. Simoneaux were forced to make numerous sacrifices and endure significant

27   stress as they struggled to meet mortgage payments that should have been lowered. Their injuries

28   include loss of more beneficial loan terms; loss of time spent avoiding foreclosure; and opportunity


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 1   costs resulting from higher mortgage payments.

 2                   7.     John and Yvonne DeMartino (Maryland)

 3           114.    In 2008, Plaintiffs John and Yvonne DeMartino bought a single-family home for

 4   $239,000 in Baltimore, Maryland, with a mortgage loan from Wells Fargo. The home was located next

 5   door to their residence. The plan was for Yvonne’s mother, Margaret, then in her late seventies and

 6   suffering from Parkinson’s disease, to move in to be cared for by Yvonne when she was no longer able

 7   to live by herself.

 8           115.    After the DeMartinos bought the home, their pregnant daughter and son-in-law moved

 9   in, with the understanding that they would pay the mortgage and live there until Margaret needed to

10   move in. They got behind on their mortgage payments, however, and the DeMartinos had to tap into

11   their savings to bring the mortgage current. In or around 2013, the DeMartinos’ daughter and son-in-

12   law fell behind on the mortgage payments again, but this time the DeMartinos couldn’t afford to bring

13   the debt current. The DeMartinos applied for a mortgage modification from Wells Fargo but were

14   denied. Wells Fargo foreclosed on the home in around 2013 or 2014.

15           116.    Mr. and Mrs. DeMartino suffered great stress and anxiety as a result of the foreclosure.

16   They were humiliated and afraid to pick up the phone. Mr. DeMartino has tried to get the foreclosure

17   removed from his record. He was told by Wells Fargo that it cannot be erased, however, because even

18   though it was in error, the foreclosure did in fact occur.

19           117.    Margaret, now 87, lives in a nursing home some distance away, and Mrs. DeMartino has

20   a difficult time getting there to see her. The DeMartinos feel terrible every time they look at the house

21   next door, where Margaret would be living under Mrs. DeMartino’s care had Wells Fargo not

22   foreclosed on the home.

23           118.    In late 2018, the DeMartinos received a letter from Wells Fargo informing them that

24   their request for a mortgage modification should have been approved but was not approved due to an

25   error. The DeMartinos were among the customers wrongly denied a mortgage modification because of

26   systematic errors in Wells Fargo’s automated decision-making tool.

27           119.    As a result of Wells Fargo’s repeated failure to properly test its automated decision-

28   making tool, the DeMartinos has suffered life-altering consequences. Their injuries include loss of


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 1   their house time and money put into that house; loss of equity in the house; loss of appreciation in the

 2   house’s value following the sale; loss of time and money spent to find replacement housing for Ms.

 3   DeMartino’s mother; loss of time and money spent in an effort to avoid foreclosure; damage to their

 4   credit and resulting opportunity costs; and severe emotional distress.

 5                  8.      Alicia Hernandez (New Jersey)

 6          120.    Plaintiff Alicia Hernandez bought her studio condominium, located in North Bergen,

 7   New Jersey, in 2006. The property was purchased through a mortgage loan with Wells Fargo.

 8          121.    Ms. Hernandez already owned another unit in the complex and thought the studio, with a

 9   lot of work, could be developed into an attractive rental due to its close proximity to New York

10   City. It’s right across the river from Manhattan, and only a seven-minute drive from Times Square with

11   no traffic. Ms. Hernandez planned to keep the property in her family forever. The unit also had a

12   deeded parking spot, and parking is very difficult to come by in that area.

13          122.    When Ms. Hernandez purchased her studio, it was just a shell—it had no kitchen and

14   there were bullet holes in the door. But Ms. Hernandez was willing to put in the work, time, and

15   money to create an income-generating property that could provide for her and her family. She tapped

16   into her retirement account and installed new flooring, new appliances, new bathroom fixtures, recessed

17   lighting, and a new air conditioning unit. She also had to contribute additional money when the

18   homeowners’ association imposed special assessments.

19          123.    During the Great Recession, Ms. Hernandez lost her job in a mass layoff, and with the

20   property now her only source of income, had difficulty making her monthly mortgage payment. She

21   applied for a mortgage modification in 2012-13, but Wells Fargo told her that she didn’t qualify and

22   instituted foreclosure proceedings in late 2013.

23          124.    Ms. Hernandez fought foreclosure for several years, but Wells Fargo eventually

24   foreclosed on her property in late 2015. The stress of the foreclosure process had a devastating effect

25   on Ms. Hernandez and her husband. As non-lawyers, the anxiety and confusion of dealing with the

26   court system and the legal process took a severe toll on them emotionally. Ms. Hernandez had a

27   miscarriage during the foreclosure process and was hospitalized for the first time in her life. She also

28   suffered insomnia, panic attacks, and difficulty breathing.


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 1            125.   Ms. Hernandez’s husband is a police officer, and both were very concerned about the

 2   effects that the foreclosure might have on him professionally. This put a lot of strain on their marriage

 3   and caused embarrassment when they ran into colleagues of his while attending court to fight

 4   foreclosure. Eventually, Ms. Hernandez and her husband moved to Easton, Pennsylvania, to escape the

 5   stress of being in the same community, and her husband now commutes approximately an hour and 15

 6   minutes to work.

 7            126.   In late 2018, Ms. Hernandez received a letter from Wells Fargo informing her that her

 8   request for a mortgage modification should have been approved but was not approved due to an error.

 9   Ms. Hernandez was one of the customers wrongly denied a mortgage modification because of

10   systematic errors in Wells Fargo’s automated decision-making tool.

11            127.   As a result of Wells Fargo’s repeated failure to properly test its automated decision-

12   making tool, Ms. Hernandez has suffered life-altering consequences. Her injuries include loss of her

13   property and the time and money put into that property; loss of equity in her property; loss of

14   appreciation in her property’s value following the sale; loss of time and money spent fighting

15   foreclosure; damage to her credit and resulting opportunity costs; and severe emotional distress.

16                   9.     Rose Wilson (New York)

17            128.   Plaintiff Rose Wilson purchased her home, located in Rochester, New York, in or

18   around 1995. Ms. Wilson lived in the home for many years with her family, and put a lot of time and

19   money into the property—including by renovating the kitchen and bathroom.

20            129.   After Ms. Wilson lost her job due to the economic downturn, however, she struggled to

21   make the mortgage payments on her home.

22            130.   She applied for a mortgage modification from Wells Fargo (her mortgage servicer)

23   multiple times over the course of several years. Wells Fargo kept stringing her along, requiring her to

24   make monthly payments she could not afford in order to qualify for a mortgage modification, and then

25   telling her the request had been denied and she would need to reapply and start the process all over

26   again.

27            131.   Ms. Wilson’s attempt to obtain a mortgage modification from Wells Fargo and save her

28   home went on for years. During this time, Ms. Wilson had to make many sacrifices to keep making her


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 1   mortgage payments. She tapped into her retirement account early, incurring tax penalties to do so.

 2           132.    Ms. Wilson’s efforts to save her home were ultimately unsuccessful, however, and Wells

 3   Fargo foreclosed in 2014. At the time of the foreclosure, Ms. Wilson’s daughter, son-in-law, and their

 4   two children lived with her. They were all forced to move from their home to a cramped, moldy,

 5   rodent-infested rental property. The aftermath of the foreclosure caused Ms. Wilson significant stress

 6   and depression. She had worked hard to purchase a home and provide for her family, but after the

 7   foreclosure, Ms. Wilson felt utterly defeated and left with nothing. It has taken many years for the pain

 8   to subside, but she still feels immense sadness whenever she drives by her former house or thinks about

 9   her old life.

10           133.    In late 2018, Ms. Wilson received a letter from Wells Fargo informing her that her

11   request for a mortgage modification should have been approved but was not approved due to an error.

12   Ms. Wilson was one of the customers wrongly denied a mortgage modification because of systematic

13   errors in Wells Fargo’s automated decision-making tool.

14           134.    As a result of Wells Fargo’s repeated failure to properly test its automated decision-

15   making tool, Ms. Wilson has suffered life-altering consequences. Her injuries include loss of her home

16   and the time and money put into that property; loss of equity in her property; loss of appreciation in her

17   property’s value following the sale; loss of time and money spent fighting foreclosure; damage to her

18   credit and resulting opportunity costs; and severe emotional distress.

19                   10.    Tiffanie Hood (Ohio)

20           135.    In May of 2001, Ms. Hood bought a three-bedroom home for her family in Cincinnati,

21   Ohio. She moved in with her young children—her son was about eight years old at the time, and her

22   daughter was about 11.

23           136.    The home was built in 1926 and needed quite a bit of work. Ms. Hood invested

24   significant resources putting in a kitchen, repairing the roof, replacing the garage door and front door,

25   and completing various other necessary repairs.

26           137.    In or around 2013, Ms. Hood had difficulty making the monthly payment and reached

27   out to Wells Fargo for help. Her request for a mortgage modification was denied, and Wells Fargo

28   initiated foreclosure proceedings. Ms. Hood and her family were forced out of their home in late 2014.


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 1          138.    Ms. Hood and her children suffered emotional trauma and depression as a result of the

 2   foreclosure and the effects that it had on their lives. They all tried to move on as best they could.

 3          139.    In late 2018, Ms. Hood received a letter from Wells Fargo informing her that her

 4   mortgage modification should have been approved but was not approved due to an error. Ms. Hood

 5   was one of the customers wrongly denied a mortgage modification because of systematic errors in

 6   Wells Fargo’s automated decision-making tool.

 7          140.    As a result of Wells Fargo’s repeated failure to properly test its automated decision-

 8   making tool, Ms. Hood life has been irrevocably altered. Her injuries include loss of her family’s home

 9   and the time and money put into that home; loss of equity in her home; loss of tax benefits; loss of

10   appreciation in her home’s value following foreclosure; loss of time and money spent to find

11   replacement housing and move her family; loss of time and money spent in an effort to avoid

12   foreclosure; damage to her credit and resulting opportunity costs; and severe emotional distress.

13                  11.     George and Cyndi Floyd (Pennsylvania)

14          141.    Plaintiffs George and Cyndi Floyd purchased their home, located in Lancaster,

15   Pennsylvania, in 2004. The property was purchased through a mortgage loan with Wachovia, which

16   was later transferred to Wells Fargo.

17          142.    After the financial crisis hit, the Floyds had difficulty making their mortgage payments.

18   Mr. Floyd lost his job when the company he worked for closed, and Mrs. Floyd later lost her job due to

19   the economic recession as well.

20          143.    In an effort to save their home, the Floyds went to great lengths: they applied for

21   numerous mortgage modifications over a period of two years; they paid a company to help them avoid

22   foreclosure; and they spent countless hours reaching out to various other companies, government

23   agencies, and even Congressional representatives for help.

24          144.    The Floyds’ efforts were ultimately unsuccessful. Wells Fargo denied their final request

25   for a mortgage modification in November 2011 and initiated foreclosure proceedings. The Floyds were

26   forced to move to a new home in Philadelphia.

27          145.    The foreclosure process was emotionally devastating for the Floyds. Mr. Floyd is

28   disabled and suffers from degenerative disc disease, arthritis throughout his body, and the aftereffects


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 1   of failed bilateral knee replacements. Being forced to move by Wells Fargo was an extreme hardship

 2   that caused Mr. Floyd severe depression and emotional distress. He was hospitalized during the

 3   foreclosure process, and though he was eventually able to get through the move to Philadelphia, it took

 4   weeks and required the help of Mr. Floyd’s nephew and high doses of pain medication. To this day,

 5   Mr. Floyd suffers from deep depression and anxiety because of what Wells Fargo has done to him and

 6   his family.

 7          146.    In late 2018, the Floyds received a letter from Wells Fargo informing them that their

 8   mortgage modification should have been approved but was not approved due to an error. The Floyds

 9   were among the customers wrongly denied a mortgage modification because of systematic errors in

10   Wells Fargo’s automated decision-making tool.

11          147.    As a result of Wells Fargo’s repeated failure to properly test its automated decision-

12   making tool, the Floyds lives were irrevocably altered. Their injuries include loss of their home and the

13   time and money put into that home; loss of equity in their home; loss of tax benefits; loss of

14   appreciation in their home’s value following the sale; loss of time and money spent to find replacement

15   housing and move their belongings; loss of time and money spent in their efforts to avoid foreclosure;

16   damage to their credit and resulting opportunity costs; and severe emotional distress.

17                  12.     Diana Trevino (Texas)

18          148.    In 2007, Plaintiff Diana Trevino purchased a three-bedroom home in Garland, Texas,

19   where she lived with her husband and four children. Close family friend Roder Contreras co-signed the

20   mortgage loan and resided in the home as well. When Mr. Contreras’s grandmother became ill in 2010,

21   he moved to El Salvador to take care of her. He stopped making his share of the payments on the

22   Trevino home, and quitclaimed his interest in it to the Trevinos.

23          149.    Because the Trevinos were unable to make the entire monthly mortgage payment

24   without Mr. Contreras’s contribution, Ms. Trevino applied for a mortgage modification from Wells

25   Fargo and was approved. After making approximately five to eight payments under the modification

26   plan, Ms. Trevino suffered another setback when her mother became ill with cancer. Ms. Trevino

27   began missing a significant amount of work because she was taking time off to take care of her

28   mother. She fell behind on the mortgage payments, and again sought assistance from Wells Fargo.


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 1             150.   Wells Fargo told Ms. Trevino to stop making mortgage payments so that she could

 2   qualify for another mortgage modification, which they assured her she was likely to get. Ms. Trevino

 3   stopped making payments as instructed, instead devoting her limited financial resources to her children

 4   and ailing mother.

 5             151.   In 2013, Ms. Trevino received a call from Wells Fargo notifying her that she had not

 6   been approved for a mortgage modification, and that Wells Fargo planned to initiate foreclosure

 7   proceedings. She was told she had 60 days to vacate the premises; a follow-up letter conveyed the

 8   same information.

 9             152.   Ms. Trevino had great difficulty finding a new place for her family to live, but

10   eventually found a three-bedroom apartment in an undesirable neighborhood in Richardson,

11   Texas. The lease was solely in her husband’s name, because the foreclosure had ruined Ms. Trevino’s

12   credit.

13             153.   In April of 2013, the Trevinos moved into the apartment. Ms. Trevino tried to keep her

14   children in the same school in Garland, but the travel proved very difficult for the family. At times,

15   some of the children were forced to live with their aunt so they could be nearer to their school. This

16   was hard on the children, who couldn’t understand why they had lost their home, or why their mother

17   was so sad all of the time. Some of the children lost friends and started acting out at

18   school. Uncharacteristically, her son and daughter were both suspended from school for misbehavior

19   during this time period.

20             154.   The stress of the foreclosure, among other factors, strained the Trevinos’ marriage, and

21   in 2013 they separated. Eventually they divorced. When the lease on their apartment expired, Ms.

22   Trevino was unable to renew it because she had not been on the original lease, and her poor credit

23   prevented her from getting a lease on her own. The Trevinos were evicted from the apartment and had

24   a very hard time finding a new place to live.

25             155.   Around the same time, Ms. Trevino’s stress and depression got to the point that she

26   wasn’t eating or sleeping, and she had to be hospitalized with a bacterial infection. She lost her job and

27   was unemployed for around ten months. She and her children survived on her unemployment benefits

28   and the financial assistance of her sister. Two of Ms. Trevino’s sons left college so that they could


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 1   work and help support the family. Ms. Trevino and her family have worked hard to try to rebuild their

 2   lives in the wake of the foreclosure in 2013, and continue to do so to this day.

 3          156.    In late 2018, Ms. Trevino received a letter from Wells Fargo informing her that her

 4   mortgage modification should have been approved but was not approved due to an error. Ms. Trevino

 5   was one of the customers wrongly denied a mortgage modification because of systematic errors in

 6   Wells Fargo’s automated decision-making tool.

 7          157.    As a result of Wells Fargo’s repeated failure to properly test its automated decision-

 8   making tool, Ms. Trevino’s life has been irrevocably altered. Her injuries include loss of her family’s

 9   home and the time and money put into that home; loss of equity in her home; loss of tax benefits; loss

10   of appreciation in her home’s value following the sale; loss of time and money spent to find

11   replacement housing and move her family; loss of time and money spent in an effort to avoid

12   foreclosure; damage to her credit and resulting opportunity costs; and severe emotional distress.

13                                          CLASS ALLEGATIONS

14          158.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs seek to pursue

15   their claims on behalf of a class of similarly situated persons. The parameters of the class may be

16   refined through discovery and will be subject to Court approval and modification, but for purposes of

17   this Complaint, Plaintiffs propose the following class definition:

18                                                Nationwide Class
19          All persons who (i) qualified for a mortgage loan modification or repayment plan
            pursuant to the requirements of government-sponsored enterprises (such as Fannie Mae
20          and Freddie Mac), the Federal Housing Administration (FHA), the U.S. Department of
            Treasury's Home Affordable Modification Program (HAMP), or any other governmental
21
            entity or program; and (ii) were not offered a mortgage loan modification by Wells Fargo
22          due to a systematic error in Wells Fargo’s automated mortgage loan modification
            underwriting tool.
23
            159.    For purposes of this proposed class definition, “mortgage loan” refers to any loan
24
     secured by real property.
25
            160.    The Nationwide Class will pursue contract claims and UCL claims. Plaintiffs also
26
     propose that the Court consider several subclasses so that class members may pursue unique state law
27
     claims available to them.
28


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 1          161.    The first group of subclasses would only be necessary if the Court determines that the

 2   UCL should not be applied to all class members. These subclasses would be defined as follows and

 3   cover the following states: California, Florida, Georgia, Illinois, Louisiana, Maryland, New Jersey,

 4   New York, Ohio, Pennsylvania, and Texas.

 5                                            [State] Subclass
 6          All members of the Nationwide Class whose mortgage loan was secured by real property
            located in [State].
 7

 8          162.    The second group of subclasses would be defined as follows, and permit Plaintiffs to

 9   pursue wrongful foreclosure claims that exist under California and Georgia law.

10                                  [California / Georgia] Foreclosure Subclass

11          All members of the Nationwide Class whose mortgage loan was secured by real property
            located in [California / Georgia] who subsequently lost that property through a
12          foreclosure.

13
            163.    Plaintiffs anticipate that they will be able to identify all class and subclass members
14
     from Wells Fargo’s records and that they can be notified of the pendency of this class action by mail.
15
            164.    The proposed class and subclasses meet each of the requirements for class certification
16
     pursuant to Rule 23(a) and Rule 23(b)(3).
17
            165.    Numerosity. The classes and subclasses are sufficiently numerous such that individual
18
     joinders are impracticable and less advantageous than proceeding through the class device. Based on
19
     Wells Fargo’s public disclosures to date, the Nationwide Class consists of at least 870 persons. And
20
     based on information Wells Fargo has provided to Plaintiffs in this case, Plaintiffs estimate that each
21
     proposed Subclass consists of at least 20 persons, with the possible exception of the Georgia
22
     Foreclosure Subclass.
23
            166.    Commonality & Predominance. Common questions of law and fact exist as to the
24
     proposed classes and subclasses, and those common questions predominate over questions affecting
25
     only individual class members. These common questions include:
26
                1. Whether Wells Fargo breached a standard notice requirement in mortgage contracts by
27
                    failing to notify class members they qualified for a mortgage modification;
28
                2. Whether Wells Fargo’s conduct, as alleged herein, was extreme and outrageous;

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 1              3. Whether Wells Fargo acted with reckless disregard for the probability that its conduct

 2                  would cause emotional distress to its customers;

 3              4. Wells Fargo owed Plaintiffs and class members a duty to exercise reasonable care when

 4                  determining their eligibility for a mortgage modification; and

 5              5. Whether Wells Fargo’s failure to properly verify or audit its automated decision-making

 6                  software constitutes an unfair practice.

 7          167.    Typicality. Plaintiffs’ claims are typical of those asserted by the proposed classes and

 8   subclasses. Both Plaintiffs and class members seek to recover for injuries caused by Wells Fargo’s

 9   failure to properly verify or audit its automated decision-making tool, which caused both Plaintiffs and

10   class members to be denied mortgage modifications and/or to suffer emotional distress.

11          168.    Adequacy. Plaintiffs will fairly and adequately represent and protect the interests of the

12   members of the Class, as their interests do not conflict with the interest of the class members they seek

13   to represent. Plaintiffs have retained counsel competent and experienced in complex class action

14   litigation and intend to prosecute this action vigorously.

15          169.    Superiority. A class action is superior to other available methods for the fair and

16   efficient adjudication of this controversy. Successfully prosecuting class members’ claims will require

17   an in-depth knowledge of HAMP-related jurisprudence; intensive discovery of a banking giant

18   defended by a large, global law firm; and depositions of several sophisticated banking executives and

19   board members. These are matters that can only realistically be handled through unified class-wide

20   representation, which can be conducted on a contingency basis and offers class members economies of

21   scale unavailable in individual proceedings. A class action also has the benefit of comprehensive

22   supervision by a single court and will avoid the risk of inconsistent results.

23          170.    In the alternative to class certification under Rule 23(b)(3), the proposed class and

24   subclasses may also be certified under Rule 23(b)(2) or Rule 23(c)(4). Wells Fargo has acted or

25   refused to act on grounds generally applicable to the class, thereby making final injunctive relief or

26   corresponding declaratory appropriate with respect to the class as a whole. And Plaintiffs’ claims

27   present a number of discrete but complex factual and legal issues that could be resolved for all class

28   members in a single proceeding.


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 1                                          TOLLING ALLEGATIONS

 2           171.    The causes of actions alleged herein did not accrue or were tolled until Plaintiffs and

 3   class members discovered, or could have discovered with the exercise of reasonable diligence, the facts

 4   giving rise to their legal claims.

 5           172.    Plaintiffs and class members were not aware that they qualified for a mortgage

 6   modification, and that Wells Fargo’s automated decision-making tool had miscalculated their

 7   eligibility, until Wells Fargo informed them through letters mailed the second half of 2018.

 8           173.    Plaintiffs and class members had no realistic ability to discover these facts on their own.

 9   Wells Fargo’s automated decision-making tool is not public, and the mathematical calculations used to

10   determine eligibility for a mortgage modification depended on variables within Wells Fargo’s exclusive

11   control.

12           174.    Any applicable statues of limitations are also tolled by Wells Fargo’s knowing, active,

13   and ongoing concealment of the facts alleged herein. Wells Fargo discovered one of the software errors

14   in August 2013 but deliberately concealed its discovery from Plaintiffs and from class members until

15   the second half of 2018. Wells Fargo was under a continuous duty to disclose the truth to Plaintiffs and

16   class members, and Plaintiffs and class members reasonably relied on Wells Fargo’s ongoing

17   concealment.

18                                        CHOICE OF LAW ALLEGATIONS

19           175.    The State of California has sufficient contacts to the claims of nonresident Plaintiffs and

20   class members such that application of California’s Unfair Competition Law (UCL) is appropriate.

21           176.    Wells Fargo does substantial business in California; WFC is headquartered in California;

22   the Bank’s principal place of business is in California; and a significant portion of the proposed

23   Nationwide Class is located in California.

24           177.    In addition, the practices that form the basis of Plaintiffs’ and class members’ UCL

25   claims against Wells Fargo are centered in California, where WFC is headquartered. WFC owns and

26   controlled the Bank, and is responsible for testing and auditing its mortgage modification operations for

27   compliance with HAMP and other government regulations.

28           178.    Several of the executives and board members who failed to ensure that Wells Fargo


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 1   properly tested and audited its mortgage modification operations were based in California. For

 2   example, public records indicate that at least four of the ten members who served on the Audit &

 3   Examination Committee between 2010 and 2017 were based in California—far more than any other

 4   state. In addition, at least one—and likely both—of the executives who served as WFC’s Chief

 5   Operational Risk Officer between 2010 and 2017, and thus were responsible for the compliance and

 6   audit reporting provided to the Compliance Committee and the Audit & Examination Committee, were

 7   based in WFC’s San Francisco office.

 8          179.    The State of California also has the strong regulatory interest in applying the UCL to all

 9   class members’ claims. The UCL is designed to preserve a business climate in California free of unfair

10   and deceptive practices. If California were only able to address unfair business conduct when the

11   injured consumer resides in California, the UCL would be largely ineffective at regulating companies

12   who do business in all fifty states. Violators would be able to keep the vast majority of their ill-gotten

13   gains (all those obtained from non-California consumers), leaving California-based companies like

14   Wells Fargo undeterred from engaging in similar conduct in the future.

15
                                        FIRST CAUSE OF ACTION
16
                                             Breach of Contract
17                                 Brought on behalf of the Nationwide Class

18          180.    Plaintiffs Debora Granja, Keith Lindner, Emma White, Troy Frye, Coszetta Teague,
19   John and Yvonne DeMartino, Russell and Brenda Simoneaux, Alicia Hernandez, Rose Wilson, Tiffanie
20   Hood, George and Cyndi Floyd, and Diana Trevino incorporate all preceding paragraphs as if fully set
21   forth herein. They bring this claim on behalf of themselves and the Nationwide Class or, in the
22   alternative, on behalf of themselves and the State Subclasses.
23          181.    When Plaintiffs and class members financed their homes, they entered into Security
24   Instruments (typically referred to as a mortgage, deed of trust, or security deed) that set forth the
25   conditions under which the lender could accelerate the borrower’s payments and foreclose on the
26   property.
27          182.    Plaintiffs’ and class members’ mortgage loans were insured, guaranteed, or held by a
28   federal government agency and their Security Instruments were typically government-issued, form


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 1   Federal Housing Administration (FHA) and/or Fannie Mae/Freddie Mac Security Instruments.1 Twelve

 2   of the fifteen Plaintiffs had their homes secured by Fannie/Freddie Security Instruments, while the

 3   remaining three had their homes secured by FHA Security Instruments. Wells Fargo breached the terms

 4   of both types of Security Instruments. Plaintiffs Hood and DeMartino entered into FHA Security

 5   Instruments, while the remaining Plaintiffs’ Security Instruments are Fannie Mae/Freddie Mac

 6   documents. References to “Security Instruments” in this complaint refer to all Plaintiffs’ mortgage

 7   contracts. Reference to “FHA Security Instruments” is to Plaintiffs Hood and DeMartino’s mortgage

 8   contracts, while reference to “Fannie/Freddie Security Instruments” is to the remaining Plaintiffs’

 9   mortgage contracts.

10            183.     Wells Fargo Bank was subject to the terms of these Security Instruments, either as the

11   original lender, an assignee, or as the mortgage servicer authorized to act on behalf of the lender.

12            184.     Under the Fannie/Freddie Security Instruments, the Bank was required to give notice to

13   Plaintiffs and class members before it was permitted to accelerate the remaining balance on their loans

14   and initiate the foreclosure process. That notice was required to specify the borrower’s default, the

15   action required by the borrower to cure the default, and the date by which the borrower must cure the

16   default to avoid acceleration and foreclosure proceedings.

17            185.     The Bank also agreed that “[i]f the Borrower meets certain conditions, Borrower shall

18   have the right to have enforcement of this Security Instrument discontinued…” prior to the sale of the

19   property. Those conditions included, among other things, that the Borrower “(a) pays Lender all sums

20   which then would be due under this Security Instrument…” and “(b) cures any defaults of any other

21   covenants or agreements.”2

22            186.     The Fannie/Freddie Security Instruments specifically contemplated the possibility of

23   both a forbearance and modification of the sums secured by the Security Instruments. The

24   1
       See Wells Fargo’s Request for Judicial Notice, Dkt. 60, attaching copies of certain Plaintiffs’ Security Instruments as
     “exemplars” that were “substantially similar to the security instruments of the remaining named Plaintiffs.” The exemplars
25   included Security Instruments for Plaintiffs DeMartino (FHA Maryland Deed of Trust), Floyd (Fannie Mae/Freddie Mac
     UNIFORM INSTRUMENT), Hood (FHA Ohio Open-End Mortgage), Hernandez (Fannie Mae/Freddie Mac UNIFORM
26   INSTRUMENT), and Wilson (Fannie Mae/Freddie Mac UNIFORM INSTRUMENT).

27   2
      See, e.g., Plaintiff Floyd Fannie/Freddie Security Instrument (Dkt.60-3) at pg. 24, ¶ 19; see also Plaintiff Hernandez at p.
     56, ¶ 19; Plaintiff Wilson at p. 76, ¶ 21(B).
28


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 1   Fannie/Freddie Security Instruments provided, “Extension of the time for payment or modification of

 2   amortization of the sums secured by this Security Instrument … shall not operate to release the liability

 3   of Borrower…”3 (emphasis added).

 4               187.         Similarly, under the FHA Security Instruments, the Bank agreed it was not able to

 5   require full payment and its rights were otherwise limited “by regulations issued by the Secretary in the

 6   case of payment defaults…”4 The Bank also agreed that, “In many circumstances regulations issued by

 7   the Secretary will limit Lender’s rights, in the case of payment defaults, to require immediate payment

 8   in full and foreclose if not paid. This Security Instrument does not authorize acceleration or foreclosure

 9   if not permitted by regulations of the Secretary.”5

10               188.         Consistent with the Security Instruments, once a borrower missed a mortgage payment,

11   Wells Fargo sent correspondence advising of the amount owed and invited borrowers to call Wells

12   Fargo’s “trained professionals” who are “available to assist you in bringing your loan current … [and]

13   will work with you to determine the best option available to you.” These letters show Wells Fargo’s

14   understanding that there is more than one way to bring a loan current under the Security Instruments.

15               189.         One of the ways a loan could be brought current was a loan modification. In a recent

16   Rule 30(b)(6) deposition, Wells Fargo’s corporate representative testified that a mortgage modification

17   could cure a default and bring a loan current.

18               190.         This testimony is consistent with other correspondence Wells Fargo sent in response to a

19   request for mortgage assistance. In one letter, Wells Fargo told Plaintiff Troy Frye it was “considering a

20   program that may assist you in bringing your loan current … This program, known as a loan

21   modification, would provide you with the opportunity for a fresh start by adjusting the current terms of

22   your loan.”

23               191.         In a different letter, Wells Fargo advised Plaintiffs and class members that a loan

24   modification is “an agreement that changes the terms of your existing mortgage. It brings your account

25   3
      See, e.g., Plaintiff Floyd Fannie/Freddie Security Instrument (Dkt.60-3) at p. 23, ¶ 12; see also Plaintiff Hernandez at p. 52,
     ¶ 12.
26
     4
      See, e.g., Plaintiff DeMartino FHA Security Instrument (Dkt. 60-3) at p. 6, ¶ 9(a); see also Plaintiff Hood FHA Security
27   Instrument (Doc. 60-3) at p. 33, ¶ 9(a).
28   5
         See id. at ¶ 9(d).


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 1   up-to-date and may result in a lower monthly payment.”

 2          192.    Once borrowers, such as Plaintiffs, requested mortgage assistance from Wells Fargo, the

 3   Bank would tell borrowers: “We’ll continue to work with you to help avoid a foreclosure sale. If your

 4   loan has not previously been referred to foreclosure and you have submitted all of the required

 5   documentation needed to evaluate for an alternative, this loan will not be referred to foreclosure while

 6   the application is evaluated. If your loan has been referred to foreclosure, we will not conduct a

 7   foreclosure sale on this loan while your documents are being reviewed and if allowed by state law

 8   and/or investor guidelines.” This message from Wells Fargo shows its understanding that a

 9   modification would bring an account current, and allow the borrower to avoid foreclosure.

10          193.    The Bank breached its contractual obligations to Plaintiffs and class members by failing

11   to give Plaintiffs and class members adequate notice prior to accelerating their loan payments,

12   commencing the foreclosure process, and, in many instances, foreclosing on Plaintiffs’ and class

13   members’ homes.

14          194.    In particular, the Bank did not notify Plaintiffs and class members that they could cure

15   their default and avoid acceleration and foreclosure by accepting a mortgage modification. Plaintiffs

16   and class members qualified for a government-mandated mortgage modification, and the Bank was

17   required to offer them a mortgage modification but failed to do so. While HAMP and other types of

18   government-mandated mortgage modifications might have come into effect after Plaintiffs and class

19   members signed their Security Instruments, a reasonable interpretation of these contracts required

20   Wells Fargo to inform Plaintiffs of actions available to cure their default at the time of the default – not

21   just any action available at the time the parties executed the contract. And at the time of Plaintiffs’

22   defaults, a mortgage modification was an option that should have been available to them.

23          195.    Plaintiffs Hood and DeMartinos’ FHA Security Instruments specifically contemplated

24   HUD Secretary regulations placing a limitation on Wells Fargo’s right to foreclose in the event of a

25   default. These contracts stated, “In many circumstances regulations issued by the [HUD] Secretary will

26   limit Lender’s rights, in the case of payment defaults, to require immediate payment in full and

27   foreclose if not paid. This Security Instrument does not authorize acceleration or foreclosure if not

28


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 1   permitted by regulations of the Secretary.”6 Indeed, as a part of the financial crisis, the HUD Secretary

 2   stated in a report to Congress that “During this time of elevated financial stress on households, FHA

 3   maintained a robust set of policies…to provide assistance in curing mortgage delinquencies.” Those

 4   tools included, among other things, loan modifications.7 The FHA (Federal Housing Administration) is

 5   a part of HUD. And HUD was one of the administering offices for HAMP; thus HUD was responsible

 6   for issuing regulations on borrower eligibility for a modification under the program.

 7               196.         As a result of the Bank’s breach, Plaintiffs and class members suffered damages in an

 8   amount subject to proof, including loss of their homes; loss of equity in their homes; loss of tax

 9   benefits; loss of appreciation in their homes’ value following foreclosure; loss of time and money spent

10   in an effort to avoid foreclosure; loss of time and money put into their homes; loss of time and money

11   to find new housing and move their families and belongings; loss of favorable interest rates or other

12   favorable loan terms; damage to credit; opportunity costs due to damaged credit or higher mortgage

13   payments.

14
                                                 SECOND CAUSE OF ACTION
15
                                            Intentional Infliction of Emotional Distress
16                                          Brought on Behalf of the Nationwide Class

17               197.         Plaintiffs Debora Granja, Keith Lindner, Emma White, Troy Frye, Coszetta Teague,
18   John and Yvonne DeMartino, Alicia Hernandez, Rose Wilson, Tiffanie Hood, George and Cyndi
19   Floyd, and Diana Trevino incorporate all preceding paragraphs as if fully set forth herein. They bring
20   this claim on behalf of themselves and the Nationwide Class or, in the alternative, on behalf of
21   themselves and the State Subclasses.
22               198.         Wells Fargo engaged in extreme and outrageous conduct as alleged herein. Wells Fargo
23   repeatedly failed to properly verify or audit mortgage modification software on which its customers’
24   homes and wellbeing depended. It allowed systemic errors to persist for five to eight years; ignored
25   consent decrees requiring it to reform its mortgage modification and foreclosure practices; failed to
26
     6
         See id. at ¶ 9(d).
27
     7
      See U.S. Department of Housing and Urban Development November 15, 2011 Annual Report to Congress Fiscal Year
28   2011 Financial Status FHA Mutual Mortgage Insurance Fund at p. 23-24, available at
     https://www.hud.gov/sites/documents/FHAMMIFANNRPTFY2011.PDF (last accessed July 10, 2019).

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 1   reform its verification and auditing practices even after the government found a software error had led

 2   the Bank to wrongfully deny mortgage modifications; concealed its discovery of an additional software

 3   error from regulators and customers; and failed to identify other related errors for an additional three

 4   years.

 5            199.   The same extreme and outrageous conduct that caused a series of scandals and consumer

 6   abuses within Wells Fargo—leading the government to impose billions of dollars in fines and to forbid

 7   Wells Fargo from growing until reforms were implemented—was also responsible for Plaintiffs and

 8   class members losing their homes here. Wells Fargo’s Board and executive leadership abandoned their

 9   oversight responsibilities to a shocking degree, repeatedly ignoring compliance failures, government

10   fines, and consent decrees requiring leadership to implement appropriate auditing and compliance

11   procedures.

12            200.   With regard to the Bank’s mortgage modification and foreclosure processes in

13   particular, Wells Fargo’s Board and executive leadership repeatedly failed to ensure the Bank

14   conducted the necessary testing and audits to detect and promptly remedy any violations of HAMP or

15   other government requirements. Wells Fargo’s leadership ignored its oversight responsibilities even

16   after the government found it had not adequately overseen the Bank’s mortgage modification and

17   foreclosure operations, even after it agreed to implement proper oversight as part of two 2011 consent

18   orders, and even after the government found in 2015 that Wells Fargo had continuously failed to

19   comply with the consent. Leadership so flagrantly and repeatedly disregarded its oversight

20   responsibilities that the Federal Reserve imposed an asset-restriction on Wells Fargo, under which it

21   will be prohibited from growing unless and until it reforms its oversight and governance.

22            201.   Wells Fargo acted with reckless disregard for the probability that its conduct would

23   cause emotional distress to customers, including Plaintiffs and class members, who were wrongfully

24   denied mortgage modifications and foreclosed upon.

25            202.   As a result of Wells Fargo’s conduct, Plaintiffs and class members have suffered severe

26   emotional distress, as alleged herein, which has contributed to diagnoses of anxiety and depression,

27   extended psychological therapy, hospitalizations, high blood pressure, various health problems, marital

28   struggles, social withdrawal, childhood trauma, suicidal ideation, stress disorders, and a number of


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 1   other physical, psychological, and social afflictions.

 2          203.    Plaintiffs and class members seek compensatory damages as well as punitive damages

 3   against Wells Fargo, whose conduct evidences a willful, wanton, and reckless disregard for the rights of

 4   Plaintiffs and class members.

 5
                                    THIRD CAUSE OF ACTION
 6
      Wrongful Foreclosure Brought on Behalf of the California and Georgia Foreclosure Subclasses
 7
            204.    Plaintiffs incorporate all preceding paragraphs as if fully set forth herein.
 8
                                            California Foreclosure Subclass
 9
            205.    Plaintiffs Debora Granja and Keith Lindner bring this claim on behalf of themselves and
10
     the California Foreclosure Subclass.
11
            206.    Wells Fargo wrongfully foreclosed on Plaintiffs’ and the California Foreclosure
12
     Subclass’s real property pursuant to a power of sale in their Security Instruments. The foreclosure was
13
     unlawful and/or unfair because Wells Fargo did not first notify Plaintiffs and the California Foreclosure
14
     Subclass that they could cure their default by accepting a mortgage modification. Plaintiffs and class
15
     members qualified for the mortgage modification and Wells Fargo was required by the Security
16
     Agreements to notify Plaintiffs and class members of actions they could take to cure their default
17
     before exercising its power of sale.
18
            207.    Plaintiffs and class members were excused from tendering the amount of their secured
19
     indebtedness, and no breach of condition or failure of performance existed on the part of Plaintiffs and
20
     class members that would have authorized the foreclosure, because Wells Fargo was required to offer
21
     Plaintiffs and class members a mortgage modification before it could accelerate their secured
22
     indebtedness and initiate foreclosure proceedings.
23
            208.    Plaintiffs and class members were harmed by the wrongful foreclosure and suffered
24
     damages according to proof, including loss of their homes; loss of equity in their homes; loss of tax
25
     benefits; loss of appreciation in their homes’ value following foreclosure; loss of time and money spent
26
     in an effort to avoid foreclosure; loss of time and money put into their homes; loss of time and money
27
     to find new housing and move their families; loss of favorable interest rates or other favorable loan
28
     terms; damage to credit; opportunity costs due to damaged credit; and emotional distress.

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 1          209.    Plaintiffs and the California Foreclosure Subclass seek compensatory damages as well as

 2   punitive damages against Wells Fargo, whose conduct evidences a willful, wanton, and reckless

 3   disregard for the rights of Plaintiffs and class members.

 4                                        Georgia Foreclosure Subclass

 5          210.    Plaintiff Troy Frye brings this claim on behalf of himself and the Georgia subclass

 6          211.    Wells Fargo owed Plaintiff Frye and the Georgia Foreclosure Subclass a duty to exercise

 7   the power of sale afforded it by Plaintiff’s and class members’ Security Instruments in conformance

 8   with the terms of the Security Instruments and in good faith.

 9          212.    Wells Fargo breached its duty by foreclosing on Plaintiff’s and class members’ homes

10   without first giving Plaintiff and class members notice that the could cure their default by accepting a

11   mortgage modification. Wells Fargo was required to do so under the terms of the Security Instruments.

12   Alternatively, foreclosing on Plaintiff’s and class members’ homes without first offering them a

13   mortgage modification to which they were entitled constitutes bad faith and unfair execution of the

14   Wells Fargo’s power of sale.

15          213.    As a result of Wells Fargo’s conduct, Plaintiff Frye and the Georgia Foreclosure

16   Subclass lost their homes to foreclosure and suffered other damages to be proven at trial, including loss

17   of equity in their homes; loss of tax benefits; loss of appreciation in their homes’ value following

18   foreclosure; loss of time and money spent in an effort to avoid foreclosure; loss of time and money put

19   into their homes; loss of time and money to find new housing and move their families; loss of favorable

20   interest rates or other favorable loan terms; damage to credit; opportunity costs due to damaged credit;

21   and emotional distress.

22          214.    Plaintiff and the Georgia Foreclosure Subclass seek compensatory damages as well as

23   punitive damages against Wells Fargo, whose conduct evidences a willful, wanton, and reckless

24   disregard for the rights of Plaintiffs and class members.

25
                                         FOURTH CAUSE OF ACTION
26
                               Violation of California’s Homeowners Bill of Rights
27                                Brought on Behalf of the California Subclass

28          215.    Plaintiffs Debora Granja and Keith Lindner incorporate all preceding paragraphs as if


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 1   fully set forth herein. They bring this claim on behalf of themselves and the California Foreclosure

 2   Subclass.

 3           216.    Under California’s Homeowners Bill of Rights, Wells Fargo had an obligation to ensure

 4   that competent and reliable evidence, including the borrower’s loan status and information, supported

 5   its right to foreclose before it filed a notice of default or notice or sale in connection with the

 6   foreclosure of Plaintiffs’ and class members’ real property. Cal. Civ. Code § 2924.17.

 7           217.    Wells Fargo materially and recklessly violated its obligation because Plaintiffs’ and

 8   class members’ loan information did not support Wells Fargo’s right to foreclose. Plaintiffs’ and class

 9   members’ loan information showed that they qualified for a mortgage modification. Wells Fargo was

10   therefore required to offer Plaintiffs and class members the opportunity to cure their default by

11   accepting a mortgage modification before it could exercise its right to foreclose under Plaintiffs’ and

12   class members’ Security Instruments.

13           218.    The automated software that Wells Fargo used to wrongly determine that Plaintiffs and

14   class members did not qualify for a mortgage modification was not reliable and Wells Fargo was

15   reckless in using the software and relying upon it to support its right to foreclose. The software’s

16   results had not been properly verified or audited, and as a result, multiple material errors remained

17   uncorrected in the software for five to eight years. Wells Fargo willfully and recklessly continued to

18   rely on its software even after the government cited it for failing to adequately audit its mortgage

19   modification and foreclosure procedures; even after the government found a software error had led the

20   Bank to wrongfully deny mortgage modifications in 2013-2014; and even after Wells Fargo discovered

21   another software error that caused it to wrongly deny modifications in 2015.

22           219.    As a result of Wells Fargo’s violation of the Homeowners Bill of Rights, Plaintiffs

23   Granja and the California Foreclosure Subclass suffered damages according to proof, including loss of

24   their homes; loss of equity in their homes; loss of tax benefits; loss of appreciation in their homes’

25   value following foreclosure; loss of time and money spent in an effort to avoid foreclosure; loss of time

26   and money put into their homes; loss of time and money to find new housing and move their families;

27   loss of favorable interest rates or other favorable loan terms; damage to credit; and opportunity costs

28   due to damaged credit.


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 1          220.    Pursuant to California Civil Code section 2924.19(b), Plaintiffs Granja and each member

 2   of the California Foreclosure Subclass seek an award of treble actual damages or statutory damages of

 3   $50,000, whichever is greater.

 4
                                         FIFTH CAUSE OF ACTION
 5
                               Violation of California’s Unfair Competition Law
 6                                Brought on Behalf of the Nationwide Class

 7          221.    Plaintiffs Debora Granja, Keith Lindner, Emma White, Troy Frye, Coszetta Teague,
 8   John and Yvonne DeMartino, Russell and Brenda Simoneaux, Alicia Hernandez, Rose Wilson, Tiffanie
 9   Hood, George and Cyndi Floyd, and Diana Trevino incorporate all preceding paragraphs as if fully set
10   forth herein. They bring this claim on behalf of themselves and the Nationwide Class.
11          222.    In the alternative, should the Court decide that out-of-state plaintiffs may not maintain
12   this claim against Wells Fargo, Plaintiffs Debora Granja and Keith Lindner bring this claim on behalf
13   of themselves and the California Subclass.
14          223.    Wells Fargo has violated and continues to violate California’s Unfair Competition Law
15   (UCL), which prohibits unlawful, unfair, or fraudulent practices.
16          224.    Wells Fargo engaged in unlawful practices by denying mortgage modifications to
17   Plaintiffs and class members in violation of HAMP and other governmental requirements.
18          225.    Wells Fargo engaged in unfair practices by failing to properly verify or audit the
19   automated software it used to determine whether Plaintiffs and class members were eligible for a
20   mortgage modification. Wells Fargo’s faulty verification and auditing practices allowed multiple
21   systemic errors to remain uncorrected for five to eight years and persisted even after the government
22   cited Wells Fargo for failing to adequately audit its mortgage modification and foreclosure processes;
23   even after the government found a software error had led the Bank to wrongfully deny mortgage
24   modifications in 2013-2014; and even after Wells Fargo discovered another software error that caused
25   it to wrongly deny modifications in 2015.
26          226.    Wells Fargo’s Board and executive leadership further engaged in unfair practices by
27   failing to properly oversee the Bank’s compliance with HAMP and other governmental requirements.
28   Wells Fargo’s lack of central oversight has led to series of consumer abuses and billions of dollars in


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 1   government fines. Yet despite repeatedly promising to reform its oversight practices, Wells Fargo’s

 2   Board and executive leadership repeatedly failed to implement or maintain procedures to ensure the

 3   Bank was complying with HAMP or other applicable government requirements.

 4          227.    Both Wells Fargo’s verification and auditing practices and its oversight practices are

 5   unethical, unscrupulous, or substantially injurious to consumers; any legitimate utility of the practices

 6   are outweighed by the harm to consumers; and the practices run afoul of the public policies underlying

 7   HAMP and California Homeowners Bill or Rights, which seek to help homeowners avoid foreclosure

 8   and promote fair mortgage lending and servicing practices.

 9          228.    As a result of Wells Fargo’s violations of the UCL, Plaintiffs have suffered injury in fact

10   and lost money and property, including loss of their homes; loss of equity in their homes; loss of tax

11   benefits; loss of appreciation in their homes’ value following foreclosure; loss of time and money spent

12   in an effort to avoid foreclosure; loss of time and money put into their homes; loss of time and money

13   to find new housing and move their families; loss of favorable interest rates or other favorable loan

14   terms; damage to credit; and opportunity costs due to damaged credit.

15          229.    Pursuant to California Business and Professions Code section 17203, Plaintiffs and class

16   members seek such orders or judgments as may be necessary to prevent the Wells Fargo’s future use of

17   its unfair and unlawful practices, and to restore to Plaintiffs and class members any money or property

18   that may have been acquired by means of Wells Fargo’s unfair competition.

19
                                         SIXTH CAUSE OF ACTION
20
                                 Violation of State Consumer Protection Laws
21                                Brought on Behalf of Five State Subclasses

22          230.    Plaintiffs incorporate all preceding paragraphs as if fully set forth herein. In the
23   alternative or in addition to the preceding claim for violation of the UCL, Plaintiffs and class members
24   seek recovery under the following state consumer protection statutes as detailed below.
25                                               Illinois Subclass
26          231.    Plaintiff Coszetta Teague brings this claim on behalf of herself and the Illinois Subclass.
27          232.    Wells Fargo’s conduct as alleged herein violates the Illinois Consumer Fraud Act
28   (ICFA), 815 ILCS 505/2, which prohibits unfair acts or practices in the conduct of any trade or


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 1   commerce.

 2          233.    Wells Fargo engaged in unfair practices by denying mortgage modifications to Plaintiffs

 3   and class members in violation of HAMP and other governmental requirements; by failing to properly

 4   verify or audit the automated software it used to determine whether Plaintiffs and class members were

 5   eligible for a mortgage modification; and by failing to implement or maintain procedures to ensure the

 6   Bank was complying with HAMP or other government requirements.

 7          234.    As a result of Wells Fargo’s violation of the ICFA, Plaintiff Teague and the Illinois

 8   Subclass suffered damages according to proof, including loss of their homes; loss of equity in their

 9   homes; loss of tax benefits; loss of appreciation in their homes’ value following foreclosure; loss of

10   time and money spent in an effort to avoid foreclosure; loss of time and money put into their homes;

11   loss of time and money to find new housing and move their families; loss of favorable interest rates or

12   other favorable loan terms; damage to credit; and opportunity costs due to damaged credit or higher

13   mortgage payments.

14          235.    Pursuant to 815 ILCS 505/10a, Plaintiff and the Illinois Subclass seek recovery of their

15   actual economic damages, punitive damages, injunctive relief, and attorneys’ fees and costs.

16                                              Maryland Subclass

17          236.    Plaintiffs John and Yvonne DeMartino bring this claim on behalf of themselves and the

18   Maryland Subclass.

19          237.    Wells Fargo’s conduct as alleged herein violates the Maryland Consumer Protection Act

20   (MCPA), Md. Code Ann., Com. Law. §13-303, which prohibits unfair, abusive or deceptive practices.

21          238.    Wells Fargo engaged in unfair practices by denying mortgage modifications to Plaintiffs

22   and class members in violation of HAMP and other governmental requirements; by failing to properly

23   verify or audit the automated software it used to determine whether Plaintiffs and class members were

24   eligible for a mortgage modification; and by failing to implement or maintain procedures to ensure the

25   Bank was complying with HAMP or other applicable government requirements.

26          239.    Wells Fargo also violated both the MCPA and the Maryland Consumer Debt Collection

27   Act (MDCA), Md. Code Ann. Com. Law § 14-202(8), by attempting to enforce a right to foreclose on

28   Plaintiffs and class member’s property with reckless disregard as to the falsity of the existence of the


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 1   right.

 2            240.   The automated software that Wells Fargo used to wrongly determine that Plaintiffs and

 3   class members did not qualify for a mortgage modification was not reliable and Wells Fargo was

 4   reckless in using the software and relying upon it to support its right to foreclose. The software’s

 5   results had not been properly verified or audited, and as a result, multiple material errors remained

 6   uncorrected in the software for five to eight years. Wells Fargo willfully and recklessly continued to

 7   rely on its software even after the government cited it for failing to adequately audit its mortgage

 8   modification and foreclosure procedures; even after the government found a software error had led the

 9   Bank to wrongfully deny mortgage modifications in 2013-2014; and even after Wells Fargo discovered

10   another software error that caused it to wrongly deny modifications in 2015.

11            241.   As a result of Wells Fargo’s violations of the MCPA and MDCA, Plaintiffs and the

12   Maryland Subclass suffered damages according to proof, including loss of their homes; loss of equity in

13   their homes; loss of tax benefits; loss of appreciation in their homes’ value following foreclosure; loss

14   of time and money spent in an effort to avoid foreclosure; loss of time and money put into their homes;

15   loss of time and money to find new housing and move their families; loss of favorable interest rates or

16   other favorable loan terms; damage to credit; opportunity costs due to damaged credit or higher

17   mortgage payments; and emotional distress.

18            242.   Pursuant to Maryland Code Annotated, Commercial Law sections 13-408 and 14-203,

19   Plaintiffs and the Maryland Subclass seek to recover damages, including damages for emotional

20   distress and mental anguish, and an award of attorneys’ fees and costs.

21                                             New Jersey Subclass

22            243.   Plaintiff Alicia Hernandez brings this claim on behalf of herself and the New Jersey

23   Subclass.

24            244.   Wells Fargo’s conduct as alleged herein violates the New Jersey Consumer Fraud Act

25   (NJCFA), N.J.S.A. 56:8-2, which prohibits the use of any misrepresentation or deception in connection

26   with the extension of credit or subsequent servicing of that credit.

27            245.   Wells Fargo represented to Plaintiff and class members that they did not qualify for a

28   mortgage modification. That representation was false and caused Plaintiff and class members


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 1   ascertainable loss, including loss of their homes; loss of equity in their homes; loss of tax benefits; loss

 2   of appreciation in their homes’ value following foreclosure; loss of time and money spent in an effort to

 3   avoid foreclosure; loss of time and money put into their homes; loss of time and money to find new

 4   housing and move their families; loss of favorable interest rates or other favorable loan terms; damage

 5   to credit; and opportunity costs due to damaged credit or higher mortgage payments.

 6          246.    Had Wells Fargo presented accurate information to Plaintiff and class members, they

 7   would have opted for the mortgage modification for which the qualified. If Wells Fargo still refused to

 8   provide Plaintiff and class members with a mortgage modification, they could and would have used the

 9   knowledge that they qualified for a mortgage modification to fight foreclosure.

10          247.    Pursuant to N.J.S.A 56:8-19, Plaintiff and the New Jersey Subclass request seek an

11   award of treble damages, injunctive relief, and attorneys’ fees and costs.

12                                              New York Subclass

13          248.    Plaintiff Rose Wilson brings this claim on behalf of herself and the New York Subclass

14          249.    Wells Fargo’s conduct as alleged herein violates Section 349(a) of New York’s General

15   Business Law (GBL), which prohibits deceptive acts or practices.

16          250.    Wells Fargo’s acts and practices were consumer-oriented, as they affected not only

17   Plaintiff but similarly-situated consumers as well, and they had the potential to affect even more

18   consumers. The automated software that used to determine Plaintiff’s and other consumers’ eligibility

19   for mortgage modifications was systematically flawed and generated inaccurate calculations.

20          251.    The automated software’s calculations had not been properly verified or audited, and as

21   a result, multiple material errors remained uncorrected in the software for five to eight years. Wells

22   Fargo willfully and recklessly continued to rely on its software even after the government cited it for

23   failing to adequately audit its mortgage modification and foreclosure procedures; even after the

24   government found a software error had led the Bank to wrongfully deny mortgage modifications in

25   2013-2014; and even after Wells Fargo discovered another software error that caused it to wrongly

26   deny modifications in 2015.

27          252.    Wells Fargo’s practice of using systematically-flawed software was deceptive or

28   misleading in a material respect, as it led Plaintiff and class members to believe that they did not


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 1   qualify for a mortgage modification and caused them to be wrongly denied a mortgage modification.

 2          253.    Had Wells Fargo presented accurate information to Plaintiff and class members, they

 3   would have opted for the mortgage modification for which the qualified. If Wells Fargo still refused to

 4   provide Plaintiff and class members with a mortgage modification, they could and would have used the

 5   knowledge that they qualified for a mortgage modification to fight foreclosure.

 6          254.    As a result of Wells Fargo’s violation of the GBL, Plaintiff and class members suffered

 7   damages, including loss of their homes; loss of equity in their homes; loss of tax benefits; loss of

 8   appreciation in their homes’ value following foreclosure; loss of time and money spent in an effort to

 9   avoid foreclosure; loss of time and money put into their homes; loss of time and money to find new

10   housing and move their families; loss of favorable interest rates or other favorable loan terms; damage

11   to credit; and opportunity costs due to damaged credit or higher mortgage payments.

12          255.    Pursuant to N.Y. Gen. Bus. Law § 349(h), Plaintiff and the New York Subclass seek an

13   award of damages, injunctive relief, and attorneys’ fees.

14                                            Pennsylvania Subclass

15          256.    Plaintiffs Cyndi and George Floyd bring this claim on behalf of themselves and the

16   Pennsylvania Subclass.

17          257.    Wells Fargo’s conduct as alleged herein constitutes a violation of the Pennsylvania

18   Unfair Trade Practices and Consumer Protection Law (UTPCPL), 73 Pa. Stat. Ann. § 201-3, which

19   prohibits unfair or deceptive acts or practices in the conduct of trade or commerce.

20          258.    Wells Fargo’s practice of using systematically-flawed software to calculate Plaintiffs’

21   and class members’ eligibility for mortgage loan modifications was unfair and deceptive, as it led

22   Plaintiffs and class members to believe that they did not qualify for a mortgage modification and

23   caused them to be wrongly denied a mortgage modification.

24          259.    The automated software’s calculations had not been properly verified or audited, and as

25   a result, multiple material errors remained uncorrected in the software for five to eight years. Wells

26   Fargo willfully and recklessly continued to rely on its software even after the government cited it for

27   failing to adequately audit its mortgage modification and foreclosure procedures; even after the

28   government found a software error had led the Bank to wrongfully deny mortgage modifications in


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 1   2013-2014; and even after Wells Fargo discovered another software error that caused it to wrongly

 2   deny modifications in 2015.

 3          260.    Plaintiffs and class members justifiably relied on Wells Fargo’s determination that they

 4   did not qualify for a mortgage modification. Had Wells Fargo presented accurate information to

 5   Plaintiffs and class members, they would have opted for the mortgage modification for which the

 6   qualified. If Wells Fargo still refused to provide Plaintiffs and class members with a mortgage

 7   modification, they could and would have used the knowledge that they qualified for a mortgage

 8   modification to fight foreclosure.

 9          261.    As a result of Wells Fargo’s violation of the UTPCPL, Plaintiffs and class members

10   suffered damages, including loss of their homes; loss of equity in their homes; loss of tax benefits; loss

11   of appreciation in their homes’ value following foreclosure; loss of time and money spent in an effort to

12   avoid foreclosure; loss of time and money put into their homes; loss of time and money to find new

13   housing and move their families; loss of favorable interest rates or other favorable loan terms; damage

14   to credit; and opportunity costs due to damaged credit or higher mortgage payments.

15          262.    Pursuant to 73 Pa. Stat. Ann. § 201-9.2, Plaintiffs and the Pennsylvania Subclass seek an

16   award of treble damages, equitable relief, and attorneys’ fees and costs.

17                                           PRAYER FOR RELIEF

18          WHEREFORE, Plaintiffs, on behalf of themselves and those similarly situated, request the

19   following relief:

20              a. A determination that this action may be maintained as a class action;

21              b. An award of all damages and restitution to be paid according to proof, including

22                  statutory damages, treble damages, and punitive damages where appropriate;

23              c. Appropriate injunctive and equitable relief, including an order enjoining Wells Fargo

24                  from continuing its unlawful practices;

25              d. Pre-judgment interest and post-judgment interest, as provided by law;

26              e. Attorneys’ fees and costs of suit, including expert fees and costs;

27              f. Any and all other legal and equitable relief that the Court may find appropriate.

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 1                                      DEMAND FOR JURY TRIAL

 2        Plaintiffs demand trial by jury for all issues so triable.

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     Dated: August 26, 2019                                             /s/ Michael L. Schrag
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